                      IN THE UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ALABAMA
                                NORTHERN DIVISION

In the Matter of:                                    )
                                                     )         Case No. 19-81991
In The Wind, LLC                                     )
 EIN: xx-xxx-5230                                    )         Chapter 11
                                                     )
Debtor                                               )

               MOTION TO EXTEND TIME TO FILE SCHEDULES OF ASSETS AND
            LIABILITIES, SCHEDULES OF CURRENT INCOME AND EXPENDITURES,
           SCHEDULES OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES, AND
                           STATEMENTS OF FINANCIAL AFFAIRS

      COMES NOW In the Wind, LLC ("Debtor"), Debtor in the above Chapter 11 case and requests
this Court to extend the time allowed to file schedules and forms and would show unto the Court as
follows:
   1. Debtor filed a petition for relief under Chapter 11 of the Bankruptcy Code on July 1, 2019.
   2. The requirements of section 521 of the Bankruptcy Code and Bankruptcy Rule 1007(c)
      normally require debtors to file their schedules of assets and liabilities, schedules of current
      income and expenditures, and schedules of executory contracts and unexpired leases, and
      statements of financial affairs within fourteen days after their commencement date.
   3. 2. The Court has the authority to grant the requested extension under Bankruptcy Rules
      1007(c) and 9006(b). Bankruptcy Rule 1007(c) together with Bankruptcy Rule 9006(b) allow
      the Court to extend the filing deadline for the Schedules “for cause shown.” Showing “cause”
      merely requires that a debtor “demonstrate some justification for the issuance of the order”
      and bankruptcy courts will normally grant such extensions “in the absence of bad faith or
      prejudice to the adverse party.” See, e.g., Bryant v. Smith, 165 B.R. 176, 182 (W.D. Va. 1994)
      (discussing the standard for granting extensions under Bankruptcy Rule 1007) (internal
      citations and quotation marks omitted).
   4. Good and sufficient cause exists for granting an extension of time to file the Schedules. The
      Debtor and Debtor’s counsel have been working diligently to complete the Schedules and
      Forms. However, the 4th of July Holiday fell in between the date of filing and today, the due
      date of the schedules thereby causing Debtor to lose approximately 2 business days to work on
      the Schedules and gather the necessary information. Debtor and Debtor’s counsel only ask for
      an additional 2 days to complete the Schedules and Forms.


      WHEREFORE, Debtor requests and a two day extension to the deadline to complete the
   Schedules and Forms.
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       Dated July 16th, 2019.


                                                     IN THE WIND, LLC

                                                     /s/Michael Moore
                                                     Michael Moore, Sole/Managing Member


                                                     /s/Richard L. Collins
                                                     Richard L. Collins (ASB-8742-C66R)
                                                     Attorney for Debtor
                                                     P. O. Box 669
                                                     Cullman, AL 35056
                                                     (256) 739-1962




                                    CERTIFICATE OF SERVICE

       This is to certify that on the 16th day of July, 2019 a copy of this pleading was served by placing
a copy of the same in the U. S. Mail with postage prepaid and correctly addressed to the following:

Richard Blythe
Bankruptcy Administrator
P. O. Box 3045
Decatur, AL 35602

20 Largest Unsecured Creditors

All parties requesting notice


                                                 /s/ Richard L. Collins
                                                 Richard L. Collins




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